       Case: 1:17-cv-02951 Document #: 14 Filed: 04/25/17 Page 1 of 3 PageID #:383




                              IiNITED STATES DISTRICT COURT
                              NORTIIERN DISTRICT OF' ILLINOIS
                                     EASTERN DIVISION


THE ESTATE OF VIVIAN MAIER,

Plaintiff,
                                                            case   No.        ,   )qt
vs.
                                                                         l7             I

JEFFREY GOLDSTEIN, An
individual, VIVIAN MAIER
PRINTS, [NC., an Illinois                                   JURY TRIAL DEMANDED
corporation,

Defendants.




      PROPOSED ORDER GRANTING PLAINTIFF'S MOTION FOR A TEMPORARY
                                          RESTRAINING ORDER


           This matter comes before the Court on The Estate of Vivian Maier's (*Plaintiff') Motion

for a Temporary Restraining Order. Upon consideration of the Motion, PlaintifPs Verified

Complaint, and the Declaration of James E. Griffith, the Court hereby grants such Motion and

finds and concludes as follows:

                                    FINDINGS AND CONCLUSIONS

      l.   The Court finds that Plaintiff is the owner of the copyrights in Vivian Maier photographs,

           film negatives, prints, letters, and all other works authored by Vivian Maier.

      2.   The Court




                        of Vivian   }u/rdirur.


      3. The Court finds that Plaintiff      is likely to prevail on its claims for copyright infringement

           and equitable easement.
 Case: 1:17-cv-02951 Document #: 14 Filed: 04/25/17 Page 2 of 3 PageID #:384




4. The Court finds that Plaintiff   will suffer immediate, irreparable injury, for which Plaintiff

     does not have an adequate remedy at law,    if Defendants   assign, sell, or transfer original

     Maier works or any copies thereof currently in their possession, custody, or control.

5.   The Court finds that Plaintiff has demonstrated Defendants' ability and willingness to sell

     unique Maier works and instruments of infringement in their possession, custody, or

     control to a buyer or buyers beyond the jurisdiction of U.S. courts.

6.   The Court finds that the assignment, sale, or transfer of original Maier works or any

     copies thereof in Defendants' possession would likely deprive the Estate of crucial

     remedies sought in its Verified Complaint.

7.   The Court finds that the irreparable harm that the nonmoving party      will suffer if the

     preliminary relief is granted is outweighed by the potential harm to Plaintiffif an

     injunction is not issued.

8. The Court finds that the public interest is best served by upholding Plaintiff s rights in
     copyrights and by maintaining the status quo.

Accordingly, the Court issues this Order temporarily:

l.   Restraining Defendants from advertising, offering for sale, selling, distributing,

     transferring, assigning, destroying, or concealing any original Maier works or copies of

     Maier works that are in Defendants' possession;
     Case: 1:17-cv-02951 Document #: 14 Filed: 04/25/17 Page 3 of 3 PageID #:385




                 the Estate's           to conduct                                       identification



                                                                  n, transfer, I

                                                                  ill accounts     rel    thereto or

        revenue, income, or profits   ierived therefrom.

                                       ORDERAS TO BOND

        This Order shall be granted on the condition that an undertaking in the sum of $10,000 be

filed by Plaintiffto make good such damages, not to exceed such sum, as may be sustained by

the Defendants if this Temporary Restraining Order shall have wrongfully issued.




        lt is further ordered that the Temporary Restraining Order granted herein shall expire

o,   AhY 5   .ZO1Z unless within such time the Order is extended, or unless, as to any

Defendant, the Defendants consent that it should be extended for a longer period of time.




                                                           { nM-
SO ORDERED.


Dated   rni&uvof        April, 2017.

                                                            Honorable Judge
                                                                                         s"Lt3 €n
